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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                        )
                                                )
              vs.                               )   Criminal No. 20-174
                                                )
NICHOLAS LUCIA,                                 )
                                                )
                           Defendant.           )


              HEARING MEMO – Change of Plea Hearing by Videoconference
                          Date hearing held: 12/21/21
                         Before Judge Arthur J. Schwab

                                     Jonathan Lusty
 Counsel for Government
                                     Patrick Livingston
 Counsel for Defendant
                                     Marsia Balobek
 Court Reporter
                                     LCK/BFM
 Law Clerk/Deputy Clerk
                                     9:35 AM
 Start time
                                     10:30 AM
 End time


Defendant present
                                              NOTED:

The Defendant pleads guilty to Count 1
The Court accepts guilty plea.
The Court adjudicates the Defendant guilty.
PSI Ordered.
Sentencing set for 6/7/22 at 9:30 AM
